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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 SALEM MAULUD ABOULGAED, et al.,
      Plaintiffs,
      v.                                                  Civil Action No. 20-298 (CKK)
 KHALIFA ABULGASIM HIFTER, et al.,
      Defendants.

                                            ORDER
                                      (September 20, 2021)

       In light of the Plaintiffs’ [39] Notice of Voluntary Dismissal, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), it is, this 20th day of September, 2021, hereby

       ORDERED that this case is DISMISSED.

       SO ORDERED.

                                                        /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
